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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

 ABBY OWENS, ET AL.                                      CIVIL ACTION NO. 3:21-CV-00242

 VERSUS                                                  JUDGE WENDY B. VITTER

 LOUISIANA STATE UNIVERSITY,                             MAGISTRATE JUDGE JOHNSON
 ET AL.


      MEMORANDUM IN SUPPORT OF MOTION TO DISMISS SECOND AMENDED
       COMPLAINT BY THE BOARD OF SUPERVISORS OF LOUISIANA STATE
         UNIVERSITY AND AGRICULTURALAND MECHANICAL COLLEGE

           NOW INTO COURT, through undersigned counsel, comes defendant the Board of

Supervisors of Louisiana State University and Agricultural and Mechanical College (the “Board”).

The Board moves this Court, pursuant to Federal Rule of Civil Procedure 12(b)(6), for dismissal

of the claims asserted by plaintiffs Abby Owens, et al. (“Plaintiffs”).

I.         Background.

           On January 17, 2022, Plaintiffs filed a Second Amended Complaint and Jury Demand

(hereinafter “Second Amended Complaint”) (R. Doc. 182), asserting four Title IX claims against

the Board. The gist of the Second Amended Complaint is that the Board allegedly failed to prevent

and properly respond to Plaintiffs’ respective complaints about sexual discrimination and assault

perpetrated by male LSU student-athletes and others. On the face of the Second Amended

Complaint, Plaintiffs’ claims fail for the reasons below.

II.        Plaintiffs’ Factual Allegations Fail to State a Claim Against the Board and Must Be
           Dismissed Under Federal Rule of Civil Procedure 12(b)(6).

      A.      Applicable Legal Standard.




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          To survive a Rule 12(b)(6) motion, a plaintiff must plead “enough facts to state a claim to

relief that is plausible on its face.”1 This means Plaintiffs must plead “facts from which the court

can draw a reasonable inference that the defendant is liable for the misconduct alleged.”2 “Though

the Court is to accept all well-pleaded facts as true, the Court need not accept as true legal

conclusions couched as factual allegations.”3 Plaintiffs must provide “more than labels and

conclusions, and a formulaic recitation of a cause of action’s elements will not do.”4 Dismissal is

proper if a plaintiff fails to allege a necessary element of her claim.5

    B.       Plaintiffs’ Title IX Claims are Prescribed and no Tolling Applies.

          The date on which a federal claim begins to “accrue,” for prescription purposes, is governed

by federal law, even where, as here, such claims are subject to a borrowed state prescription statute.

The Fifth Circuit summarized federal accrual precepts as follows:

          Under federal law, the limitations period begins to run the moment the plaintiff
          becomes aware that he has suffered an injury or has sufficient information to know
          that he has been injured. A plaintiff's awareness encompasses two elements: (1)
          the existence of the injury; and (2) causation, that is, the connection between the
          injury and the defendant's actions. A plaintiff need not know that she has a legal
          cause of action; she need know only the facts that would ultimately support a claim.
          Actual knowledge is not required if the circumstances would lead a reasonable
          person to investigate further.6

In other words, “[t]he cause of action accrues even though the full extent of the injury is not then

known or predictable.”7




1
  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
2
  Spector v. USAA Cas. Ins. Co., 2019 WL 1493467, *3 (E.D. La. April 3, 2019) (quoting Twombly, 550 U.S. at
570).
3
  K&F Restaurant Holdings, Ltd. V. Rouse, 2017 WL 465470, *2 (M.D. La. Feb. 2, 2017) (citation omitted).
4
  Twombly, 550 U.S. at 555 (internal quotations, citations, and brackets omitted).
5
  Blackburn v. City of Marshall, 42 F.3d 925, 931 (5th Cir. 1995).
6
  Piotrowski v. City of Houston, 237 F.3d 567, 576 (5th Cir. 2001) (internal brackets and quotation marks omitted)
(citations omitted).
7
  Wallace v. Kato, 549 U.S. 384, 391, 127 S.Ct. 1091, 166 L.Ed.2d 973 (2007).



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          Title IX claims are subject to Louisiana’s one year prescriptive period.8 Other than perhaps

one plaintiff (Hovis), Plaintiffs allege they had knowledge of their injuries, the conduct which

allegedly caused those injuries, and the identity of some or all of the persons who engaged in the

alleged conduct, well in advance of April 26, 2020.9

          1.     Plaintiffs’10 Title IX Deliberate Indifference, Hostile Environment, and
                 Heightened Risk Claims Are Untimely.

          Although Plaintiffs revised the factual allegations included in the Second Amended

Complaint, the timeliness concerns raised in the Board’s originally-filed motion to dismiss

remain.11 Specifically, Plaintiffs allege the following regarding the timing of the alleged Title IX

conduct:

    Plaintiff        Allegations re: Timing of Title IX Conduct

    Richardson       Richardson’s involvement with John Doe and John Coe took place in
                     Fall/October 2016, and she alleges she spoke to Defendants Lewis and/or Soil-
                     Cormier within a day of each incident.12 Thus, Richardson knew at that time
                     that neither offered her resources or allegedly made a report to the Title IX
                     Office.
    Robertson        Robertson pleads her alleged assault occurred on January 22, 2016, that she
                     declined a Title IX investigation on February 5, 2016, and that the conduct
                     was disclosed to Defendant Orgeron in the Fall of 2016.13
    Brennan          Brennan’s contact with John Doe and her meeting with Defendants Lewis and
                     Segar allegedly occurred in July 2016, and she alleges she left the LSU
                     recruiting team in August 2016, in part because of “LSU’s lack of response.”14
    Owens            Owens alleges contact with John Doe on June 28, 2016, and she alleges she
                     first disclosed the rape to a rehabilitation center in April 2017, and that the
                     facility reported the incident to LSU approximately a week later. Owens knew,

8
  See King-White v. Humble Indep. Sch. Dist., 803 F.3d 754 (5th Cir. 2015).
9
  Plaintiffs filed their original Complaint on April 26, 2021. (R. Doc. 1) Only conduct occurring on or before April
26, 2020 is timely.
10
   Plaintiffs’ claims are untimely, with the possible exception of plaintiff Hovis. Hovis’ claims should be dismissed
on substantive grounds, discussed infra Section C.
11
   R. Docs. 119, 148.
12
   Second Amended Complaint, ¶¶ 148, 152, 161, 166, 191. The other incidents Richardson mentions all occurred in
early 2016. See, e.g., Second Amended Complaint ¶ 134.
13
   Second Amended Complaint, ¶¶ 243, 248, 260, 273.
14
   Second Amended Complaint, ¶¶ 290-293, 299, 316. Although Brennan alleges she read an article about John Doe
and tried to obtain a copy of her police report in 2020, these are actions on her part—not actions by the Board that
would render her untimely claims timely. Second Amended Complaint, ¶ 319.



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                    following the disclosures, that she “was never contacted by anyone at the Title
                    IX office.”15
 Andries            Andries alleges contact with John Roe in 2016-2017. Andries engaged in a
                    Title IX investigation that found that John Roe violated the Title IX policy.
                    Andries alleges that she learned of the discipline being administered to John
                    Roe on September 26, 2019, and that on October 16, 2019, LSU denied John
                    Roe’s final appeal.16
 Lewis              Lewis alleges contact with John Coe from January 2017 to June 2018, and that,
                    despite various individuals having knowledge of the events, the events were
                    not reported to the Title IX office until April 2018. John Loe was expelled in
                    July 2019.17
 Johnson            Johnson complains about her relationship with Julia Sell. Prior versions of
                    Plaintiffs’ Complaint state that when she “graduated from LSU in Spring 2019
                    . . . . Johnson blocked Defendant Julia Sell’s number, thus ending the
                    relationship with her lifelong mentor.”18 Johnson removed this allegation from
                    her existing Second Amended Complaint, but she does not allege any
                    additional conduct that occurred after her graduation from LSU in the Spring
                    of 2019.
 Doe                Doe alleges abusive behavior from John Poe beginning in October 2018. She
                    alleges she reported the conduct in March 2019. By May 2019, Doe alleges
                    she was told her claims did not fall under Title IX and that LSU Student
                    Advocacy and Accountability was determining what other avenues existed for
                    charging Poe.19
 Hovis              Hovis alleges an encounter with John Loe on January 24, 2020, and alleges that
                    Loe was found to have violated the Title IX policy on March 6, 2020. In May
                    2020, John Loe allegedly violated a no-contact order by having his girlfriend
                    contact Hovis. Hovis claims that LSU did not take disciplinary action against
                    Loe for these violations.20
 Kitch              Kitch alleges that Moe sexually harassed her during her time as a graduate
                    student in the Political Science Department. Kitch finished her PhD program
                    and left LSU’s campus in 2014. Kitch reported Moe’s conduct in
                    approximately August 2019. 21

         As mentioned, conduct pre-dating April 26, 2020 is time-barred, meaning that plaintiff

Hovis’ allegation about LSU’s alleged lack of response to Loe’s violation of the no-contact order


15
   Second Amended Complaint, ¶¶ 328, 337-338. Like Brennan, Owens alleges action on her part in 2019 and 2020,
namely requesting her file from LSU and submitting a public records request. Second Amended Complaint ¶¶ 351,
357. These actions on her part have no bearing on the timeliness of her claims.
16
   Second Amended Complaint, ¶¶ 364, 435, 437.
17
   Second Amended Complaint, ¶¶ 456, 477-478, 486, 505, 552.
18
   Complaint, ¶¶ 285-299; Second Amended Complaint ¶ 594.
19
   Second Amended Complaint, ¶¶ 598-604, 613-619. Doe alleges action on her part in 2021, which action is
immaterial to her Title IX claims.
20
   Second Amended Complaint, ¶¶ 652, 330-332.
21
   Second Amended Complaint, ¶¶ 699, 724, 728, 733.



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is the only conduct she alleges occurred within the limitations period. All other alleged Title IX

conduct alleged by Plaintiffs is untimely.

        2.       Plaintiffs’ Title IX Retaliation Claims Are Also Untimely.

        According to Count IV of Plaintiffs’ Amended Complaint, “[a]ll Plaintiffs . . . allege

violations of Title IX against the LSU Board of Supervisors due to retaliation.”22 Specifically,

Plaintiffs allege that “LSU staff and other LSU students took adverse action against Plaintiffs after

they made reports of sex discrimination and abuse to LSU staff and LSUPD.”23 Although

Plaintiffs state that all Plaintiffs assert retaliation claims, only six Plaintiffs actually allege

retaliatory conduct. As shown above, Title IX claims are subject to Louisiana’s one year

prescriptive period for personal injury actions.24 Thus, any events pre-dating April 26, 2020 are

time-barred.

        Plaintiffs allege the following dates:

 Plaintiff25          Retaliatory Conduct Alleged

 Owens                Following her stay in rehabilitation (in April 2017), Julia and Mike Sell did
                      not allow Owens to rejoin the tennis team.26
 Richardson           Immediately after Richardson spoke with Defendants Lewis and Soil-
                      Cormier, she faced retaliation at work. The LSU Athletics Department
                      refused to schedule Richardson to work at the events in which John Coe
                      participated.27
                      Richardson was terminated from her job in the football recruiting office in
                      the spring of 2017.28
                      When Richardson spoke with Soil-Corimer and Ya’el Lofton in August
                      2017, she believes Soil-Cormier and Lofton gave her pretextual reasons for
                      why her employment ended.29
                      She alleges she was denied an athlete tutor position and two job

22
   Second Amended Complaint, ¶ 940.
23
   Second Amended Complaint, ¶ 948.
24
   Sewell v. Monroe City Sch. Bd., 974 F.3d 577, 583.
25
   Ashlyn Robertson, Samantha Brennan, Corrin Hovis, and Sarah Kitch did not allege any retaliatory conduct
against the Board.
26
   Second Amended Complaint, ¶¶ 336, 951.
27
   Second Amended Complaint, ¶¶ 175-176.
28
   Second Amended Complaint, ¶ 203.
29
   Second Amended Complaint, ¶ 205.



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                      opportunities in the Athletics Department in Fall 2018.30
                      Richardson also alleges that Lewis and Soil-Cormier mocked her, limited her
                      working opportunities, forced her to apologize to John Doe’s girlfriend, that
                      Ausberry told Richardson to stop reporting Coe, and Segar never returned
                      Richardson’s calls, which seemingly all occurred in Fall 2018 or earlier.31
 Andries              Andries alleges that she was harassed with inappropriate questions during an
                      unnecessary interview (on August 22, 2019), denied reasonable
                      accommodations and interim measures (on August 29, 2019), and that
                      LSU’s issuance of a no-contact order on or around September 26, 2019
                      constituted retaliation.32
 Lewis                Lewis alleges that in June 22, 2018, LSU “wasted no time in immediately
                      charging Plaintiff Lewis with violating the residential life policy for having a
                      candle in her room . . .”33 She also alleges that in 2018, while Coe was
                      banned from the weight room, football coaches made comments to her
                      indicating they blamed her for John Coe being banned from the weight room
                      and that Julia Sell instructed Lewis’ teammates to stay away from Lewis
                      (also in 2018).34
 Johnson              Johnson alleges that Julia Sell “retaliated” against her by telling her that she
                      would be a better tennis player if she stopped worrying so much about other
                      people and subsequently harassed and berated her.35 Johnson graduated
                      from LSU in Spring 2019, ending any alleged retaliation.36”
 Doe                  Doe alleges she experienced retaliation when she was denied reasonable
                      accommodations, denied information about her case under false pretenses,
                      and was told her case did not fall under the scope of Title IX, all of which
                      allegedly occurred in 2019.37

         Per Plaintiffs’ Second Amended Complaint, each alleged adverse action occurred before

April 26, 2020. Thus, Plaintiffs’ retaliation claims are untimely and must be dismissed.38

         3.      Contra Non Valentem Does Not Revive Plaintiffs’ Claims.




30
   Second Amended Complaint, ¶¶ 206, 209.
31
   Second Amended Complaint, ¶ 957.
32
   Second Amended Complaint, ¶¶ 422-423,426-427, 988-990.
33
   Second Amended Complaint, ¶¶ 515-516.
34
   Second Amended Complaint, ¶¶ 529-30.
35
   Second Amended Complaint, ¶ 982.
36
   Second Amended Complaint, ¶ 594.
37
   Second Amended Complaint, ¶¶ 629-633, 995.
38
   The continuing violations doctrine does not apply to retaliation. Hamic v. Harris Cnty. W.C. & I.D. No. 36, 184 F.
App’x 442 (5th Cir. 2006); see also Lewis v. Louisiana State University et al., 2021 WL 4139138, *5 (M.D. La. Sept.
10, 2021).



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        Plaintiffs cannot invoke tolling or contra non valentem to save their untimely claims.39

Plaintiffs seemingly invoke the so-called “discovery rule” of contra non valentem by alleging the

Husch Blackwell report, released in March of 2021, made them aware of facts that they would not

have otherwise known. Plaintiffs generally allege they learned the following from the report: 40

        a. LSU’s reporting and response system was woefully inadequate in comparison to other

             comparable universities and substantially deviated from the duty of care as outlined in

             industry standards;

        b. LSU and its employees, including Defendant Stewart, had specific knowledge of its

             institutional level procedural deficiencies;

        c. LSU purposely handled complaints of sexual misconduct perpetrated by student

             athletes or others affiliated with the LSU Athletics Department in a different manner

             than complaints of sexual misconduct perpetrated by other individuals;

        d. A causal connection existed between the failure of LSU’s Title IX system and the

             success of its Athletics Department;

        e. LSU and its employees, including Defendants Ausberry and Segar, encouraged and

             perpetrated sex discrimination by retaliating against employees who attempted to

             follow their reporting obligations;

        f. LSU and its employees, including Defendants Ausberry and Segar, concealed

             disclosures of sexual misconduct that should have been reported to LSU’s Title IX

             Office;




39
   Crane v. Childers, 655 Fed. Appx. 203, 204-05 (5th Cir. July 11, 2016). A motion to dismiss on the basis of
prescription can be granted even where a plaintiff invokes the “discovery rule,” contra non valentem, or some other
exception to the running of prescription, if the exception is not warranted by the allegations of the complaint. Id.
40
   Second Amended Complaint, ¶ 83.



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         g. Defendants intentionally instituted a process of responding to disclosures of Title IX

              violations in a manner designed to deter any future disclosures;

         h. LSU football players never received appropriate training regarding prevention of

              sexual misconduct; and

         i. Numerous LSU employees, including the majority of those in the Athletics

              Department, did not understand their reporting obligations under Title IX.

None of these areas relate to Plaintiffs’ claim or injuries.41 “Prescription begins to run from the

time there is notice enough to call for inquiry about a claim, not from the time when the inquiry

reveals facts or evidence sufficient to prove the claim.”42

         In order to toll prescription, “it [i]s critical for the [P]laintiffs to establish that they did not

possess information sufficient to excite curiosity, excite attention, or put a reasonable person on

guard to call for inquiry more than one year before this lawsuit was filed.”43 Plaintiffs’ allegations

reveal that Plaintiffs were aware more than a year before this lawsuit of their alleged injuries and

the specific defendants whom they named. Plaintiffs do not allege latent injuries or that they were

unaware, at least in a general sense, that they might have a legal claim.44 “While factual ignorance




41
   Ceasor v. State, 2009-1584 (La. App. 1 Cir. 3/26/10), 2010 WL 1170232, * 7 (citation omitted), writ denied, 2010-
0941 (La. 9/3/10); 44 So.3d 695. In answering this question, “[a] plaintiff will be deemed to know what he could have
learned through reasonable diligence.” Babineaux v. State, Through Department of Transportation and Development,
2004-2649 (La. App. 1 Cir. 12/22/05), 927 So.2d 1121, 1124-25 (internal brackets supplied) (citation omitted).
42
   LaFleur v. Blue, 2008-1147 (La. App. 3 Cir. 3/4/09), 6 So.3d 348, 351 (internal quotation marks and citation
omitted).
43
   Alexander v. Fulco, 39,293 (La. App. 2 Cir. 2/25/05), 895 So.2d 668, 674, writ denied, 2005-0781 (La. 5/6/05); 901
So.2d 1107.
44
   Whether Plaintiffs were aware of all the alleged deficiencies in the Title IX process is immaterial to the prescription
question; notice that they might have a legal claim was sufficient to commence the running of prescription. See Rojas
v. Department of Health and Human Resources, State of Louisiana, 522 So.2d 1195, 1197 (La. App. 4 Cir. 1988)
(defamation claim was prescribed despite claim the employee doctor was prevented from viewing his personnel file
(containing the defamatory statements) because plaintiff knew the employees had rated him incompetent, alerting him
to inaccuracies in his file), writ denied, 523 So.2d 1338 (La. 1988).



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may prevent the running of prescription in some circumstances, ignorance of the law does not.”45

Plaintiffs’ Second Amended Complaint fails to satisfy this category of contra non valentem.

         Plaintiffs also seem to invoke the “intentional concealment” category of contra non

valentem by alleging that, until the release of the Husch Blackwell report, the Board successfully

“concealed” the extent of sexual harassment on campus.46 Such allegation is insufficient. This

category only applies where the defendant engages in conduct which prevents the plaintiff from

filing suit (because the plaintiff could not have discovered through reasonable investigation that

she had a cause of action), not conduct which merely “lulls” the plaintiff into believing timely

action is not required.47 At best, Plaintiffs allege the Board did not disclose certain facts to

Plaintiffs. However, in the absence of some affirmative duty to speak, “concealment by silence

alone is insufficient for an application of contra non valentem.”48 Plaintiffs present no allegations

suggesting the Board had a duty to disclose any particular information to Plaintiffs, nor do

Plaintiffs allege the Board prevented any of the Plaintiffs from investigating their claims and filing

a lawsuit. Again, Plaintiffs’ allegations show they were aware of their injuries, the conduct which

caused their injuries, and the identities of the persons they accused prior to April 26, 2020.




45
   Lieber v. State through Department of Transportation and Development, 28,745 (La. App. 2 Cir. 10/30/96); 682
So.2d 1257, 1262 (internal brackets supplied) (listing cases), writ denied, 97-0087 (La. 3/7/97); 689 So.2d 1374; Coker
v. Town of Glenmora, 2009-1432 (La. App. 3 Cir. 5/5/10); 37 So.3d 532, 534-35 (employee’s claim, based on
employer providing inaccurate information about his eligibility for retirement benefits, was prescribed because his
ignorance was not one of fact but rather of law concerning his eligibility, writ denied, 2010-1302 (La. 10/1/10); 45
So.3d 1096; Lieber, 682 So.2d at 1263.
46
   See, e.g., Second Amended Complaint, ¶¶ 81, 83, 360.
47
   Crump v. Sabine River Authority, 98-2326 (La. 6/29/99); 737 So.2d 720, 731 (rejecting application of intentional
concealment category of contra non valentem based upon plaintiff’s claims that defendant assured her that drainage
problem, which was eroding plaintiff’s property, would be remedied). See Greening v. Western Reserve Life Assurance
Company of Ohio, 439 F.Supp.2d 612, 614 (M.D. La. 2006) (rejecting application of intentional concealment category
of contra non valentem because “plaintiffs had complete access to the correct information prior to the sale.”) (applying
Louisiana law); Marin, 48 So.3d at 252.
48
   In re Medical Review Panel of Gerard Lindquist, 18-444 (La. App. 5 Cir. 5/23/19), 274 So.3d 750, 760 (listing
cases); see Adams v. Ochsner Clinic of Baton Rouge, 1999-2502 (La. App. 1 Cir. 11/3/00), 771 So.2d 258, 261-62
(refusing application of third category of contra non valentem because physician had no duty to disclose certain
information to his patient).



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Therefore, Plaintiffs Richardson, Robertson, Brennan, Owens, Andries, Lewis, Johnson, Doe and

Kitch’s claims are prescribed and must be dismissed.

     C.        Plaintiff Hovis is the Only Plaintiff Pleading Timely Conduct, But She Fails to
               State a Claim Against the Board.

          For the reasons set forth above, plaintiff Hovis is the only plaintiff who pleads timely

conduct. She has asserted three claims against the Board: (1) Title IX Deliberate Indifference; (2)

Title IX Hostile Environment; and (3) Title IX Heightened Risk. All three claims fail as a matter

of law.

          1.      Hovis’ Title IX Deliberate Indifference Claim Fails Because the Board’s
                  Actions Were Not Clearly Unreasonable.

          In order to be liable for student-on-student sexual harassment, Hovis must show that the

Board “was deliberately indifferent to the harassment.”49 “Deliberate indifference is an extremely

high standard to meet.”50 A defendant is deliberately indifferent when the “school’s response or

lack of response was clearly unreasonable in light of the known circumstances.”51 “[C]ourts

should refrain from second-guessing disciplinary decisions made by school administrators.”52

          Here, only one allegation could be considered a deliberate indifference claim: namely

Hovis’ allegation that LSU did not appropriately respond to her complaint that Loe violated the

no-contact order.53 Specifically, Hovis alleges: (1) on two occasions in May 2020, Loe’s girlfriend

contacted Hovis in violation of the no-contact order; (2) this contact was reported to Defendants

Stewart and Sanders, but LSU did not take disciplinary action against Loe for violations of the no-


49
   I.L. v. Houston Indep. Sch. Dist., 776 F. App’x 839 (5th Cir. 2019), citing Doe v. Columbia-Brazoria Indep. Sch.
Dist., 855 F.3d 681, 689 (5th Cir. 2017).
50
   I.F. v. Lewisville Indep. Sch. Dist. 915, F.3d 360 (5th Cir. 2019), citing Domino v. Tex. Dept. of Crim. Justice, 239
F.3d 752, 756 (5th Cir. 2001).
51
   I.L., 776 F. App’x at 842 (internal quotations omitted)
52
   I.F., 915 F.3d at 369, citing Davis Next Friend LaShonda D. v. Monroe Cnty. Bd. of Educ, 526 U.S. 629, 648
(1999).
53
   The other Title IX conduct alleged is clearly untimely. In the event the Court determines it is timely, the Board
reserves the right to assert additional bases for dismissal as to that conduct.



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contact directive.54 As a matter of law, this alleged action is not clearly unreasonable in light of

all the alleged facts. Hovis admits that Loe was suspended in May 2020, meaning LSU had

already taken significant disciplinary action by removing him from campus. Hovis does not allege

that the Board had prior knowledge of harassment by Loe (against Hovis or anyone else), nor does

Hovis allege that the conduct recurred.55 Additionally, Hovis admits that it was Loe’s girlfriend,

not Loe, who contacted her. Putting aside whether Loe’s girlfriend’s alleged conduct violated the

no-contact order, Hovis’ allegation that the Board did not take additional disciplinary action

against Loe, beyond suspending him for one year, is not clearly unreasonable.56 Hovis’ allegations

do not support a deliberate indifference claim.

         2. Hovis Cannot State a Hostile Environment Claim.

         In order to establish a claim for a Hostile Environment, Hovis must show that the alleged

harassment was so severe, pervasive, and objectively offensive that it can be said to deprive the

victims of access to the educational opportunities or benefits provided by the school and that the

funding recipient was deliberately indifferent to this harassment.57                      For the same reasons

articulated above in Section I.C.1, Hovis fails to allege deliberate indifference by the Board.

         Additionally, Hovis does not allege a deprivation of educational opportunities. Hovis

claims she could not attend a class near the football stadium because of her fear of seeing Loe, and

that she failed a class because she did not attend a midterm exam due to stress. These allegations

do not approach the standard set forth in Davis Next Friend LaShonda D. v. Monroe County Board


54
   Second Amended Complaint, ¶¶ 680, 681.
55
   See, e.g., I.L., 776 F. App’x at 843 (“The school immediately investigated the sexual assault and implemented
remedial measures that were almost entirely successful in eliminating any contact between the students and prevented
future sexual contact or harassment. Even if the school’s investigative and disciplinary response could have been
better, neither “negligence nor mere unreasonableness is enough” to support a Title IX deliberate indifference claim.”)
(quoting Sanches, 647 F.3d at 167–68 (citations omitted)).
56
   See, e.g., Doe ex rel. Doe v. Dallas Indep. Sch. Dist., 220 F.3d 380, 388 (holding school was not deliberately
indifferent, even though its actions were ineffective).
57
   Davis Next Friend LaShonda D. v. Monroe Cnty. Bd. of Educ, 526 U.S. 629 (1999).



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of Education, namely that the harassment “undermines and detracts from the victims’ educational

experience, that the victim-students are effectively denied equal access to an institution’s resources

and opportunities.”58 Hovis fails to allege a Hostile Environment claim.

            3.      To the Extent Not Prescribed, Plaintiffs’ Title IX “Heightened Risk” Claim

                    Fails.

            In Count III, Hovis and others allege Title IX violations against LSU and the Board “due

to the heightened risk of sex-based discrimination on LSU’s campus,” but such claim is

unavailable.59 The Fifth Circuit recently stated “[w]e have never recognized or adopted a Title IX

theory of liability based on a general ‘heightened risk’ of sex discrimination, and we decline to do

so.” Poloceno v. Dallas Independent Sch. Dist., 826 F. App’x 359, 363 (5th Cir. 2020). Thus,

Plaintiffs’ “heightened risk” claim should be dismissed.

       D.        Plaintiffs are not Entitled to Punitive Damages.

            Plaintiffs seek punitive damages under Title IX, but punitive damages are not available

under Title IX.60 Accordingly, this claim should be dismissed.

III.        Conclusion.

            As shown, all claims against the Board are prescribed, with the possible exception of one

allegation by Hovis. Hovis’ claims also suffer from other defects, and they, too, must be dismissed.

Thus, for the reasons stated herein, Plaintiffs’ Second Amended Complaint must be dismissed,

with prejudice.




58
   Second Amended Complaint, ¶ 905; See Davis, 526 U.S. at 651.
59
   Second Amended Complaint, ¶¶ 917, 935.
60
   See Minnis v. Bd. Of Supervisors of Louisiana State Univ. & Agric. & Mech. Coll., No. 13-5-BAJ-RLB, 972 F.
Supp. 2d 878 (M.D. La. 2013); Kirk v. School Bd. Cty. Of Monroe, 2020 WL 7931377 (W.D. La. Dec. 21, 2020).



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                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing pleading was filed on

February 14, 2022, with the Court’s CM/ECF system, which will electronically send a copy of the

same to all counsel of record.

                                           /s/_Susan W. Furr_____________________
                                           Susan W. Furr




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